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15

16                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
17                               SAN FRANCISCO DIVISION
18
     JUNIPER NETWORKS INC., and                Case No. 3:20-cv-3137-JD
19   APSTRA INC.,
                                               PLAINTIFFS’ MEMORANDUM
20                        Plaintiff,           IN OPPOSITION TO SWARM’S
                                               MOTION TO DISMISS
21          v.
22                                             Date:       June 10, 2021
     SWARM TECHNOLOGY LLC,                     Time:       10:00 a.m.
23                                             Location:   Courtroom 11, 19th Floor
                          Defendant.           Judge:      Hon. James Donato
24

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1    I.     INTRODUCTION

2           Nine days ago, the Federal Circuit decided Trimble Inc. v. PerDiemCo LLC. That opinion

3    confirms that Swarm premised its motion to dismiss on outdated law. The Trimble district court

4    had relied on a line of Federal Circuit decisions extending back two decades—the cases Swarm

5    relies on here—to hold that the sending of demand letters didn’t create personal jurisdiction.1 But

6    the Federal Circuit reversed, explaining that recent developments in Supreme Court precedent

7    required it to reexamine these cases. And instead of applying the “other activities” test that

8    Swarm urges, the Federal Circuit applied the “specific” personal jurisdiction test first promul-

9    gated 75 years ago in International Shoe. This test focuses “on the nature and extent of ‘the de-

10   fendant’s relationship to the forum State,’” and whether requiring the defendant to litigate there

11   comports with due process.2 And in applying it, Trimble found that the declaratory-judgment de-

12   fendant was subject to personal jurisdiction in this District because it had “exchanged twenty-

13   two communications” relating to licensing and infringement accusations with the plaintiff in Cal-

14   ifornia (satisfying “minimum contacts”), and didn’t make a “compelling” showing of unreasona-

15   bleness (satisfying “fair play and substantial justice”).3

16          Under Trimble, it would likewise be fair to Swarm and comport with due process to allow

17   this case to proceed in this Court. Swarm purposefully engaged in a campaign of licensing de-

18   mands, infringement allegations, and litigation threats against Juniper and Apstra in this state.

19   Juniper’s and Apstra’s claims arise directly from those contacts. And exercising jurisdiction over

20   Swarm would be reasonable in light of Swarm’s choices and actions. Indeed, Swarm accused Ju-

21   niper of infringing six times before this suit, with Swarm’s first letter attaching a claim chart

22   comparing 52 Juniper products to Swarm’s patents. And Swarm subjected Apstra to similar de-

23   mands. All told, Swarm exchanged 20 pre-suit communications with Juniper and Apstra. And the

24   communications’ content also is similar to those in Trimble, with Swarm sending a draft licens-

25   ing agreement to Juniper and amplifying its threats as time went on, including by accusing more

26
     1
27     No. 2019-2164, 2021 WL 1898127, at *4 (Fed. Cir. May 12, 2021).
     2
       Id. at *3 (quoting Ford Motor Co. v. Montana, 141 S. Ct. 1017, 1024 (2021)).
28   3
       Id. at *7–8.

     PLAINTIFFS’ OPPOSITION TO                         1
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1    products and telling Juniper that it “required” a license.

2           And other facts justify jurisdiction here even more strongly than in Trimble. The Trimble

3    defendant argued that none of its officers or employees had ever traveled to the District for busi-

4    ness and that it hadn’t engaged in similar communications with other District residents.4 By con-

5    trast, Silicon Valley is where Swarm has focused its sales, funding, and licensing efforts.5 The

6    only trade shows Swarm attended in the U.S. were three in Santa Clara, where over the course of

7    nine days Swarm demonstrated its products, sought potential investors, and displayed a sign say-

8    ing “PATENTS AVAILABLE FOR LICENSING.” Swarm also engaged in licensing, enforce-

9    ment, and validity-related communications with 13 other companies in California. Swarm’s com-

10   munications with San Jose-based Cisco alone span 88 pages across 16 letters and emails, and

11   five of the six companies Swarm sent claim charts to are in this District. The only company in

12   the U.S. that Swarm sent a draft license agreement to—Juniper—is here as well. So too are all 12

13   potential investors that Swarm sent its business plan and other pitch documents to, after meeting

14   them at the Santa Clara trade shows. And through its attempts to monetize its patents and secure

15   capital, Swarm has entered two contracts requiring that any disputes be heard in this District.

16          Thus, it’d be fair and reasonable to hold Swarm subject to personal jurisdiction in this

17   District. And Swarm’s tacked-on Rule 12(b)(3) venue argument, copied nearly verbatim from its

18   prior motion to dismiss, continues to lack merit because venue is proper under § 1391(b)(1).

19   II.    FACTUAL BACKGROUND

20          A.      SWARM’S CONTACTS WITH JUNIPER

21          July 5, 2019: Swarm’s First Infringement Accusation:6 On July 5, 2019, Juniper received

22   a letter from John Fisher, Swarm’s IP Licensing Consultant, asserting that Swarm was seeking to

23   license its ’777 and ’004 patents “to a number of hardware and software providers.”7 The letter

24
     4
       E.g., Fed. Cir. No. 2019-2164, Doc. 58-2 at Appx754, Appx770–71 (¶ 7).
25   5
       The limited discovery that Swarm has provided confirms the complaint’s allegations of this.
26   See Dkt. #38 at ¶ 18.
     6
       About a year earlier, on July 16, 2018, Swarm also sent Juniper a letter “to highlight a licensing
27   opportunity.” Ex. A. Juniper didn’t respond at that time. (Unless otherwise specified, citations to
     to “Ex. _” refer to exhibits attached to the accompanying declaration of R. William Sigler.)
28   7
       Dkt. #18-4 at 3 (Ex. 1 to 7-14-20 Fisher Decl.).

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1    asserted that this was a “licensing opportunity” that “should not be construed as an accusation of

2    infringement,” but it also enclosed a claim chart purporting to “demonstrate[] the correlation be-

3    tween claim 1 of the ‘004 patent and your [Juniper’s] Zero-Touch Provisioning.”8 And the claim

4    chart listed 52 Juniper products allegedly “using Zero Touch Provisioning,” with a “complete list

5    of model numbers” in an attached appendix.9

6           August 13, 2019: Swarm’s Second Infringement Accusation: On August 9, 2019, Juni-

7    per’s Director of Litigation, David Saunders, responded to Swarm and explained that Juniper had

8    begun analyzing Swarm’s patents and claim chart.10 Juniper also asked Swarm to clarify the defi-

9    nitions of several claim terms and further explain the basis for its belief that Juniper practices

10   claim 1 of the ’004 patent. Four days later, Swarm responded to Juniper’s questions, and pre-

11   dicted that Juniper’s “technical people” would “confirm the correlation between the Juniper de-

12   vices and Swarm’s ’004 patent,” as Swarm’s previously sent claim chart purportedly showed.11

13          September 13, 2019: Swarm’s Third Infringement Accusation: Juniper then asked addi-

14   tional questions about certain claims.12 But Swarm’s September 13, 2019 reply included an unso-

15   licited, draft licensing agreement, with a section purporting to release Juniper from liability for

16   infringement.13 And in a follow-up email referencing this draft agreement, Swarm further at-

17   tempted to pressure Juniper into taking a license.14

18          November 6, 2019: Swarm’s Fourth Infringement Accusation: After evaluating the mate-

19   rials Swarm had provided, on October 24, 2019, Juniper told Swarm that it did not “believe that a

20   license is required because our products do not use the technology claimed by Swarm Technol-

21   ogy’s patents.”15 Swarm’s November 6, 2019 reply email argued that Swarm had answered all of

22
     8
       Id.; Dkt. #26-2 (enclosed claim chart).
23   9
       Dkt. #26-2; see also Dkt. #38 at ¶ 26 (listing accused Juniper products).
     10
24      Dkt. #18-4 at 6–7 (Ex. 2 to 7-14-20 Fisher Decl.).
     11
25      Id. at 9 (Ex. 3 to 7-14-20 Fisher Decl.).
     12
        Id. at 14 (Ex. 4 to 7-14-20 Fisher Decl.).
26   13
        Id. at 20 (Ex. 5 to 7-14-20 Fisher Decl.).
     14
27      Dkt. #26-3.
     15
28      Dkt. #18-4 at 25 (Ex. 6 to 7-14-20 Fisher Decl.); see also Dkt. #26-3 (Juniper noting this belief
     was consistent with Swarm’s earlier statement that it wasn’t accusing Juniper of infringement).

     PLAINTIFFS’ OPPOSITION TO                         3
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1    Juniper’s questions about claim terms, and asserted that Juniper had so far “failed to express any

2    position that would prevail in a Markman hearing.”16 Swarm also noted that it had been in licens-

3    ing communications with “several other companies – your competitors.”17 And Swarm expressly

4    disagreed with Juniper’s belief that a license was not required. Mr. Fisher stated: “Although you

5    have said that Juniper does not require a license, I have to disagree.”18

6           December 3, 2019: Swarm’s Fifth Infringement Accusation: Juniper agreed to discuss

7    Swarm’s accusations on a call. And on that December 3, 2019 call between Messrs. Saunders

8    and Fisher, Mr. Fisher again claimed Swarm was talking with Juniper’s competitors. Mr. Fisher

9    also reiterated the threat of an infringement action, as he stated that Swarm was in contact with

10   litigation firms and was attempting to secure litigation financing to enforce its patents.19

11          April 6, 2020: Swarm’s Sixth Infringement Accusation: On April 6, 2020, Swarm again

12   emailed Juniper, repeating its belief that Juniper was required to license Swarm’s patents and

13   identifying Swarm’s recently issued ’275 patent.20 Swarm also attached another claim chart, this

14   time alleging similarities between the ’275 patent and Juniper’s products.21 And on May 4, 2020,

15   Swarm resent a revised version that charted two additional claim elements.22 Three days later,

16   Juniper filed this declaratory judgment action.23

17          B.      JUNIPER’S INVESTIGATION AND ACQUISITION OF APSTRA CONFIRMED THAT
                    SWARM’S LICENSING EFFORTS WERE DIRECTED AT NORTHERN CALIFORNIA.
18
            In the original complaint, Juniper alleged that Swarm had “communicated and conducted
19
     licensing activities with other companies in this District,” including exhibiting at trade shows in
20
     Santa Clara, where it displayed a sign saying “PATENTS AVAILABLE FOR LICENSING.”24
21
     16
22      Dkt. # 18-4 at 27 (Ex. 7 to 7-14-20 Fisher Decl.).
     17
        Id.
23   18
        Id.
     19
24      Dkt. #26-1 at ¶ 5.
     20
25      Dkt. # 18-4 at 29 (Ex. 8 to 7-14-20 Fisher Decl.).
     21
        Dkt. #26-4.
26   22
        Dkt. #26-5.
     23
27      See Dkt. #1.
     24
28      See id. at ¶¶ 11–12 (further noting Swarm’s founder gave an interview at one event where he
     discussed Swarm’s patents, licensing, and hiring a licensing consultant).

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1    Yet, Swarm’s first motion to dismiss on jurisdictional and venue grounds, filed on July 14, 2020,

2    omitted significant details on these and other Swarm activities directed at California residents.25

3    And Swarm refused Juniper’s request for venue and jurisdictional discovery.26 Thus, Juniper’s

4    response explained that, through its own investigation, Juniper had uncovered that Swarm had

5    attempted to pressure at least two other companies in this District into taking a license (Cisco and

6    Arista), and had executed a non-disclosure agreement relating to licensing with a third (RPX).27

7           While that motion was pending, Juniper completed its acquisition of Menlo Park-based

8    Apstra, and learned that Swarm had also targeted Apstra.28 For instance, in an April 16, 2020 let-

9    ter, Swarm’s licensing consultant stated that he had written “on three previous occasions to bring

10   to [Apstra’s] attention the relationship between [Apstra’s AOS software] and technology devel-

11   oped and patented by Swarm,” including Swarm’s ’004 Patent and ’275 Patent.29 This letter also

12   stated that Swarm had already “begun licensing discussions with other companies.”30 And it at-

13   tached a claim chart purporting to correlate claim 11 of the ’275 Patent and AOS.31

14          C.      VENUE DISCOVERY CONFIRMS THAT SWARM FOCUSED ON CALIFORNIA.

15          On March 1, 2021, this Court granted Juniper’s request to file an amended complaint

16   adding Apstra as co-plaintiff, and terminated the previous motion to dismiss without prejudice.32

17   And after the amended complaint was filed, on April 16, 2021, Swarm filed another motion to

18
     25
19      See Dkt. #18; Dkt. #18-2 (five-paragraph declaration denying any “licensing activity took
     place” at trade shows, ignoring allegations of complaint and other California contacts).
20   26
        See Dkt. #26 at 14; Dkt. # 26-9 at ¶¶ 7–8; Dkt. #26-10; Dkt. #26-11.
     27
21      See Dkt. #26-6 (Swarm letter to Cisco); Dkt. #26-7 (Swarm letter to Arista); Dkt. #26-8 (RPX
     Agreement); Dkt. #26-1 ¶¶ 8–12 (providing further detail on results of Juniper’s investigation).
22   28
        See Dkt. #38 at ¶¶ 8, 36.
     29
23      Dkt. #36-3. E.g., Ex. B at 190 (“We sent a letter to Apstra presenting a business opportunity,
     and as you showed before, we sent three letters, and we got no response.”). This letter also refer-
24   enced a prior letter enclosing a claim chart mapping Apstra products to the ’004 patent, but
     Swarm didn’t produce that letter and Apstra hasn’t located it.
25   30
        Dkt. #36-3.
     31
26      A section of the chart entitled “Products currently compatible with [AOS] 3.0” states that
     “AOS works with … established switch hardware vendor[s],” including Juniper, and “switch op-
27   erating systems,” including Junos OS.
     32
28      Dkt. #37; see also Dkt. #36 (explaining that Swarm opposed Juniper’s request to amend, even
     though Juniper proposed a stipulation to avoid Swarm needing to refile its motion).

     PLAINTIFFS’ OPPOSITION TO                        5
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1    dismiss, again relying on declarations that didn’t detail its contacts with California, or provide

2    any means for comparison with any other forum.33 But this time, Swarm agreed to limited per-

3    sonal-jurisdiction and venue discovery.34 And that discovery—particularly the produced docu-

4    ments and the testimony of Swarm’s corporate representative, Mr. Iniguez—provided a fuller

5    picture of Swarm’s extensive campaign to license its patents in this District.

6           Initially, Swarm provided an interrogatory response stating that it sent letters to “Apstra,

7    Juniper, Arista, Aruba, and Cisco offering them an opportunity to license Swarm’s patents.”35

8    But the documents Swarm produced and Mr. Iniguez’s deposition showed that Swarm’s licens-

9    ing efforts went far beyond that. Rather, Swarm engaged in 2014 and 2018 licensing campaigns,

10   in which Swarm contacted 13 additional California companies beyond the five it disclosed in its

11   interrogatory response.

12          In 2014, Swarm’s attorneys sent letters to 21 companies, with 13 going to California, in-

13   cluding to Google, Apple, Intel, Oracle, and HP, among others.36 Each letter stated that Swarm

14   was “seeking an exclusive joint development partner,” but also began by explaining “[w]e repre-

15   sent Swarm … in intellectual property matters,” and referenced Swarm’s pending patent applica-

16   tions, one of which later issued as the ‘004 patent.37 And the 2018 campaign began with letters to

17   nine California companies, including Juniper, Intel, Nvidia, AppsDynamic, Qualcomm, Cavium,

18   Oracle, Google, and Apple.38 Swarm then expanded its list of targets to include Cisco, Arista,

19   HPE/Aruba, and Apstra. All told, there were at least 62 written communications between Swarm

20
     33
        See Dkt. #39 (moving under Rule 12(b)(2) and (3)); Dkt. #39-1; Dkt. #39-2.
21   34
        As detailed further below, Swarm redacted significant portions of certain documents, without a
22   basis to do so, and may have withheld some information regarding its contacts with other states.
     35
        See Ex. C at 3.
23   36
        Swarm claims it no longer has copies of these letters and hasn’t produced them. But Swarm
24   represented that it sent “the same template” (i.e., Ex. D) to each. Ex. B at 44; Ex. E (Swarm letter
     identifying 23 companies); Ex. B at 61–62 (indicating letters weren’t sent to Freescale or Na-
25   tional Instruments). And based on known information, 13 recipients were headquartered in CA in
     2014, and would’ve likely received the letters there: Google, Nest, Apple, Cisco, Intel, Oracle,
26   Qualcomm, HP, ARM (per U.S. headquarters), AMD, Atmel, Samsung (if same entity Swarm
     later contacted), and Nvidia. The remaining recipients were headquartered in a variety of other
27   locations, including Washington, New York, Texas, and Massachusetts.
     37
        Ex. D.
28   38
        Ex. A (letter to Juniper); Ex. F (letters to eight other companies in California).

     PLAINTIFFS’ OPPOSITION TO                         6
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1    and California companies, as well as a number of phone calls, including:

2               •   15 letters or emails from Swarm to Juniper or Apstra, along with five letters or
                    emails from Juniper in response, and one call, as detailed above;
3
                •   10 letters or emails from Swarm to Cisco, in which Swarm included claim charts
4                   and defended validity, and six letters or emails in response;39

5               •   Two letters or emails from Swarm to Arista, and one Arista response in which it
                    contested validity;40
6
                •   Three letters to HPE/Aruba, one response, and a call on licensing and validity;41
7
                •   Four letters exchanged with Apple.42
8
            In the latter campaign, Swarm sent claim charts to six target companies—five of them in
9
     California.43 And Swarm only sent a draft license agreement to one U.S. company—Juniper:
10
            Juniper Attorney: So the only license -- the only draft license agreement that you
11          ever sent to anyone in the United States went to Juniper in California, right, sir?

12          Mr. Iniguez: Yes.44

13          Swarm also disclosed in its interrogatory responses that RPX, a San Francisco-based

14   company that buys and licenses patents, contacted Swarm about buying Swarm’s patents in

15   2020, but Swarm “declined the offer without any negotiations having occurred or documents

16   having been exchanged.”45 Again, though, Swarm’s documents and deposition showed that this

17   was inaccurate. Swarm signed a non-disclosure agreement with RPX that includes a forum-selec-

18   tion clause requiring any disputes relating to it to be “heard and determined exclusively by the

19   Superior Court of the State of California for the County of San Francisco or the United States

20   District Court for the Northern District of California located in the County of San Francisco.”46

21   Swarm also provided RPX with information about its patents and licensing campaign, claim

22
     39
        Ex. G.
23   40
        Ex. H.
     41
24      See Ex. I.
     42
25      See Ex. J.
     43
        Ex. B at 208 (“Q. Did Swarm send claim charts to any companies outside of California? A.
26   There is one company outside California. Q. Who’s that? A. Microsoft.”); id. at 209 (same).
     44
27      Id. at 96.
     45
        See Ex. C at 2.
28   46
        Dkt. #26-8 at 3.

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1    charts mapping those patents to Cisco products, and a document entitled “”Financial Considera-

2    tions” stating what Swarm would be willing to sell its patents for.47

3           Discovery also confirmed that the only trade shows Swarm attended in the U.S.—where

4    Swarm demonstrated its technology, talked to potential investors, and displayed a sign saying

5    “PATENTS AVAILABLE FOR LICENSING”—were in the Northern District.48 After exhibit-

6    ing at these trade shows, Swarm sent documents including a business plan and a “Pitch Deck” to

7    12 potential investors—all located in California.49 This “Pitch Deck” informed investors that

8    Swarm was preparing for litigation and was “represented by Michael K. Kelly,” the same attor-

9    ney who sent Swarm’s 2014 and 2018 letters and is serving as Swarm’s counsel in this case and

10   Swarm’s infringement action against Amazon.com in Arizona.50 And Swarm engaged in further

11   discussions with many of these potential investors, including Menlo Park-based Samsung Re-

12   search America, with which Swarm entered a non-disclosure agreement. That agreement speci-

13   fied that any disputes would be heard by a court in Santa Clara County.51

14   III.   LEGAL STANDARDS

15          Personal Jurisdiction: A plaintiff need only make a prima facie case of personal jurisdic-

16   tion to survive a Rule 12(b)(2) motion, unless the court holds an evidentiary hearing.52 Because

17   Juniper filed suit in California, Swarm is subject to personal jurisdiction in this Court so long as

18   it doesn’t violate due process.53 Thus, under International Shoe Co. v. Washington, it must have

19   47
        Ex. K. Swarm redacted the entire “Financial Considerations” document except for the title,
20   due to purported confidentiality and despite there being a protective order in place.
     48
        Ex. B at 168–69, 176–77. Besides those, the only other trade show that Swarm has participated
21   in was in Canada. See id. at 168–69.
     49
22      Id. at 179–80 (referring to Andreessen Horowitz, Bomming Star Venture Capital, Play Ground
     Global, Gradient Ventures, Lux Capital, Nexstar Partner, Intel Capital, Khosla Ventures, Jabil,
23   Nvidia Business Development, Samsung Research America, and Peter PC). See also id. at 227–
     29 (confirming this includes all who received these documents “inside or outside of California”).
24   50
        Ex. L (Pitch Deck) at 15; see also Ex. M (other documents Swarm sent to investors). Swarm
     also redacted significant portions of the Pitch Deck and these other documents.
25   51
        Ex. N. Swarm also entered an agreement with Neil Naveen, a California resident, but has pro-
26   duced only a redacted version. It too may require that disputes be heard in the District.
     52
        M-I Drilling Fluids UK Ltd. v. Dynamic Air Ltda., 890 F.3d 995, 999 (Fed. Cir. 2018) (noting
27   Federal Circuit reviews personal jurisdiction in patent-infringement cases under its precedent).
     53
28      Trimble, 2021 WL 1898127, at *3 (explaining that whether jurisdiction exists over an out-of-
     state defendant involves two inquires, but because California’s long-arm statute permits service
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1    “minimum contacts” with the forum such that maintaining suit there doesn’t offend “traditional

2    notions of fair play and substantial justice.”54

3            Two months ago, in Ford Motor Co. v. Montana, the Supreme Court further explained

4    that the contacts required for “specific” personal jurisdiction, “often go by the name ‘purposeful

5    availment.’”55 That is, the defendant “must take some act by which it purposefully avails itself of

6    the privilege of conducting activities within the forum State,”56 and the plaintiff ’s claims “must

7    arise out of or relate to the defendant’s contacts” with the forum.57 And for “fair play and sub-

8    stantial justice,” the Supreme Court has identified five broad considerations that are relevant: (1)

9    “the burden on the defendant,” (2) “the forum State’s interest,” (3) “the plaintiff’s interest,” (4)

10   “the interstate judicial system’s interest,” and (5) the “shared interest of the several States in fur-

11   thering fundamental substantive social policies.”58 And to defeat jurisdiction, a defendant that

12   purposefully directed activities at forum residents has the burden presenting a “compelling case”

13   that such considerations would render jurisdiction unreasonable.59

14           Venue: A Rule 12(b)(3) motion to dismiss for improper venue hinges on the applicable

15   venue statute.60 This Court may consider facts outside the pleadings, but “must draw all reasona-

16   ble inferences and resolve all factual conflicts in favor of the non-moving party.”61

17
18
19
20   of process to the limits of the Due Process Clauses of the U.S. Constitution, these two inquiries
     fold into one: whether the exercise of jurisdiction would be consistent with due process).
     54
21      326 U.S. 310, 316 (1945); accord Ford, 141 S. Ct. at 1024.
     55
22      141 S. Ct. at 1024 (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)).
     56
        Id. (internal quotation marks and alteration omitted); see also id. at 1025 (The contacts “must
23   show that the defendant deliberately ‘reached out beyond’ its home—by, for example, ‘ex-
     ploi[ting] a market’ in the forum State or entering a contractual relationship centered there.”).
24   57
        Id. at 1025 (quoting Bristol-Myers Squibb Co. v. California, 137 S. Ct. 1773, 1786 (2017)).
     58
25      Trimble, 2021 WL 1898127, at *4 (quoting Burger King, 471 U.S. at 475).
     59
26      Id.; accord Elecs. For Imaging, Inc. v. Coyle, 340 F.3d 1344 (Fed. Cir. 2003).
     60
        See, e.g., Californians for Renewable Energy v. E.P.A., No. 15-cv-3292, 2018 WL 1586211, at
27   *5 (N.D. Cal. Mar. 30, 2018).
     61
28      E.g., id.; accord North v. Samsung SDI Am., Inc., No. 5:19-cv-5621, 2020 WL 1984020, at *6
     (N.D. Cal. Apr. 27, 2020).

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1    IV.    ARGUMENT

2           A.      TRIMBLE CONFIRMS THAT SWARM RELIES ON OUTDATED LAW.

3           For two decades, in a line of cases beginning with Red Wing Shoe Co. v. Hockerson-

4    Halberstadt, Inc., the Federal Circuit had held that letters asserting patent rights, by themselves,

5    couldn’t satisfy the “fair play and substantial justice” prong of the Due Process inquiry.62 For

6    example, in Avocent Huntsville Corp. v. Aten International Co. (the case Swarm principally re-

7    lies on here), the Federal Circuit had held that “letters threatening suit for patent infringement

8    sent to the alleged infringer by themselves ‘do not suffice to create personal jurisdiction.’”63

9    And based on “policy considerations unique to the patent context,” Red Wing, Avocent, and

10   other Federal Circuit cases required declaratory-judgment plaintiffs to show that a defendant

11   engaged in “‘other activities’ directed at the forum and related to the cause of action.”64 That is,

12   the “other activities” had to “relate in some material way to the enforcement or the defense” of

13   the same patents, though they needn’t have been directed at the plaintiff.65 And in applying this

14   requirement, courts typically limited their consideration to whether the defendant had initiated

15   “judicial or extra-judicial patent enforcement” in the forum, or had entered into an “exclusive

16   license agreement” imposing enforcement obligations on a forum resident.66

17          But by 2018, more recent Federal Circuit and Supreme Court cases contradicted, or at

18   least questioned, Red Wing and its progeny. For instance, the Federal Circuit’s decision in Jack

19   Henry & Associates, Inc. v. Plano Encryption Technologies LLC, stated:

20   62
        148 F.3d 1355, 1361 (Fed. Cir. 1998).
     63
21      552 F.3d 1324, 1333 (Fed. Cir. 2008) (quoting Red Wing, 148 F.3d at 1361). Avocent is the
     only case Swarm cites passim. And the district court cases Swarm cites rely on Avocent and/or
22   Red Wing. E.g., Dkt. #39 at 1 n.5 (quoting Juniper Networks, Inc. v. SSL Servs., LLC, No. 08-cv-
     5758, 2009 WL 3837266, at *3 (N.D. Cal. Nov. 16, 2009) (“In Avocent, the Federal Circuit held
23   that sending cease and desist letters …, standing alone, is insufficient.”)).
     64
24      Avocent, 552 F.3d at 1333 (quoting Silent Drive, Inc. v. Strong Indus., Inc., 326 F.3d 1194,
     1202 (Fed. Cir. 2003) (“We have decided that under [fair play and substantial justice] the send-
25   ing of letters threatening infringement litigation is not sufficient to confer personal jurisdiction”)
     and citing Red Wing, 148 F.3d at 1361 (Fairness demands a patentee be insulated from personal
26   jurisdiction if its only contacts “were efforts to give proper notice of its patent rights.”)).
     65
        Id. at 1334, 1337.
27   66
        Id. at 1337 (concluding “mere acts” of making, selling, or importing products, even if covered
28   by relevant patent, don’t qualify); accord Breckenridge Pharm., Inc. v. Metabolite Lab’ys, Inc.,
     444 F.3d 1356, 1366 (Fed. Cir. 2006) (finding “multiple non-exclusive licensees” insufficient).

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            [Defendant] PET cites Red Wing Shoe and Avocent for the proposition that patent
1           enforcement letters can never provide the basis for jurisdiction in a declaratory
            judgment action. Red Wing Shoe and Avocent did not create such a rule, and doing
2           so would contradict the [Supreme Court’s] directive to “consider a variety of inter-
            ests” in assessing whether jurisdiction would be fair.67
3
            And just nine days ago, in Trimble, the Federal Circuit issued a more sweeping abroga-
4
     tion of its Red Wing line of cases, explaining that three recent developments in Supreme Court
5
     precedent had required their reexamination. First, the Supreme Court had “made clear that the
6
     analysis of personal jurisdiction cannot rest on special patent policies.”68 Second, it had “held
7
     that communications sent into a state may create specific personal jurisdiction, depending on the
8
     nature and scope of such communications.”69 And third, it had “established that a broad set of a
9
     defendant’s contacts with a forum are relevant” to this analysis.70
10
            In view of these tenets, Trimble reaffirmed what the Federal Circuit had stated in Jack
11
     Henry: there’s “no general rule that demand letters can never create specific personal jurisdic-
12
     tion.”71 And it then applied the longstanding International Shoe test for specific personal juris-
13
     diction. As the Federal Circuit concluded, the “purposeful availment” portion was satisfied, since
14
     the declaratory-judgment defendant had “exchanged twenty-two communications” with the
15
     plaintiff in California, and had “amplified its threats of infringement as the communications con-
16
     tinued, asserting more patents and accusing more of [plaintiff’s and its subsidiary’s] products.”72
17
     And after analyzing the five Burger King factors, the Federal Circuit found that “fair play and
18
     substantial justice” also was satisfied, as the defendant hadn’t made “a compelling case that the
19
     presence of some other considerations would render jurisdiction unreasonable.”73
20
            Thus, Red Wing and other cases may still be correctly decided on their particular facts,
21
22   67
        910 F.3d 1199, 1206 (Fed. Cir. 2018) (quoting Bristol-Myers, 137 S. Ct. 1773); accord Ge-
23   netic Veterinary Scis., Inc. v. LABOKLIN GmbH & Co. KG, 933 F.3d 1302, 1312 (Fed. Cir.
     2019); see also Jack Henry, 910 F.3d at 1207 (Stoll, J., and Wallach, J., additional views) (“It is
24   time for this Court to revisit Red Wing and its progeny.”).
     68
        Id. at *5 (citing SCA Hygiene Prod. v. First Quality Baby Prod., LLC, 137 S. Ct. 954 (2017)).
25   69
        Id. at *5 (citing South Dakota v. Wayfair, Inc., 138 S. Ct. 2080 (2018)).
     70
26      Id. at *6 (citing Ford, 141 S. Ct. 1017).
     71
27      Id.
     72
        Id. at *7
28   73
        Id. at *8.

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1    but the Federal Circuit abrogated them to the extent they conflict with Trimble and recent Su-

2    preme Court precedent.74 To be sure, Avocent includes statements that run contrary to every de-

3    velopment Trimble identified, since it relies on “policy considerations unique to the patent con-

4    text,” states that “letters threatening suit” don’t create personal jurisdiction, and limits its consid-

5    eration of relevant circumstances to qualifying “other activities” (instead of applying Burger

6    King and requiring the defendant to make a “compelling” showing of unfairness).75 Rather than

7    rely on such statements, many of which Swarm quotes in its brief, this Court thus should apply

8    the longstanding test for specific personal jurisdiction, consistent with Trimble.

9            B.      UNDER TRIMBLE, SWARM IS SUBJECT TO PERSONAL JURISDICTION.

10           As this District explained in Zoove Corp. v. StarPound Corp., the “central purpose of a

11   declaratory action is often to clear the air of infringement charges.”76 Hence, such an action “re-

12   lates to” a “letter implying infringement of the [relevant] patent.”77 Indeed, even before Trimble,

13   Swarm’s communications with Juniper and Apstra satisfied the “minimum contacts” prong of the

14   due process inquiry, as Avocent explained that “[i]n many patent declaratory judgment actions,

15   the alleged injury arises out of the threat of infringement as communicated in an ‘infringement

16   letter.’”78 And Swarm doesn’t dispute that minimum contacts are satisfied here.

17           Indeed, although Swarm repeatedly denies that its communications qualify as cease-and-

18   desist letters, Swarm dropped the argument in its previous motion that there’s no dispute be-

19   tween the parties qualifying as an Article III “case or controversy.” After all, the Federal Circuit

20   has repeatedly held that specific threats and magic words aren’t required, and a defendant can’t

21   escape jurisdiction by denying that it has made an infringement accusation, when the rest of the

22
23
24   74
        Red Wing, in which defendant only sent three letters to the plaintiff, “remains correctly de-
25   cided with respect to the limited number of communications.” Id. (noting this is “consistent with
     the Supreme Court’s instruction to treat ‘isolated or sporadic [contacts] differently’”).
     75
26      552 F.3d at 1333.
     76
27      No. 10-cv-6131, 2012 WL 3580526, at *7 (N.D. Cal. Aug. 17, 2012).
     77
        Id.
28   78
        552 F.3d at 1337.

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1    facts show its intent to enforce its patents.79 Here, Swarm sent multiple claim charts to both Juni-

2    per and Apstra, suggested Juniper wouldn’t fare well in “a Markman hearing,” and disagreed

3    with the statement that “Juniper does not require a license”—facts the Federal Circuit has previ-

4    ously found to give rise to a declaratory judgment action.80 And, contrary to how it portrays its

5    communications with Juniper and Apstra here, Swarm has relied on the same correspondence

6    elsewhere as a basis for alleging notice and willful infringement. In its Arizona patent infringe-

7    ment action against Amazon.com, Swarm contends that a July 16, 2018 letter to Amazon—the

8    same letter that it sent Juniper and other California companies—put Amazon on notice of

9    Swarm’s patents and provides a basis for willful infringement of those patents.81

10             Beyond that, Swarm has “purposefully directed its activities” to residents of the forum—

11   e.g., Sunnyvale-based Juniper and Menlo Park-based Apstra.82 Swarm also has sought to license

12   its patents during three events in the District. During an interview with IWCE’s Urgent Commu-

13   nications at the 2018 IoT Expo in Santa Clara, Mr. Iniguez said that Swarm had been issued pa-

14   tents, was planning on licensing them, and had hired a licensing consultant.83 At that Expo itself,

15   a screen that Swarm set up at its booth announced “PATENTS AVAILABLE FOR LICENS-

16   ING.”84 And before the 2017 IoT Expo, Mr. Iniguez promoted Swarm as a “technology licensing

17   company,” and said that Swarm would exhibit its technology at the Expo.85 And at his recent

18   79
        E.g., Arris Grp., Inc. v. Brit. Telecommc’ns PLC, 639 F.3d 1368, 1379 (Fed. Cir. 2011);
     SanDisk Corp. v. STMicroelecs., Inc., 480 F.3d 1372, 1381–83 (Fed. Cir. 2007).
19
     80
        E.g., SanDisk, 480 F.3d at 1381 (also not crediting defendant’s “unequivocal statement that
20   ‘[it] has absolutely no plan whatsoever to sue,’” since its other actions suggested differently).
     81
        See Dkt. #1 in Swarm Technology, LLC v. Amazon.com, Inc., No. 2:21-cv-438 (D. Ariz.) at ¶¶
21   96–97 (relying on July 16, 2018 letter as evidence that Amazon was “provided written notice” of
     Swarm’s patents and thus it’s “infringement may be willful”).
22
     82
        For instance, Swarm addressed its initial letter to Juniper’s headquarters at 1133 Innovation
23   Way, Sunnyvale, CA. See also Dkt. #26-1 at ¶ 2 (noting ~ 2,200 employees work at Juniper’s
     headquarters, where the vast majority of Juniper’s products (including those named in Swarm’s
24   charts) are researched, designed, developed, tested, updated, marketed, and financed).
     83
        Previously at http://www.urgentcomm.com/2018/05/20/swarm-technology-alfonso-iniguez-
25   demos-intent-based-autonomy-technology-for-coordinating-drones/. This video was taken down
     after Juniper filed this lawsuit.
26
     84
        Ex. B at 176; see also YouTube, https://www.youtube.com/watch?v=tRe-z6SZKnE, at 1m47s
27   (showing sign); id. at 1m21s (Pablo Garcia, another Swarm representative, telling prospective
     customer “we have intellectual property on Swarm…we own the patents for Swarm”).
28   85
          E.g., Twitter (Nov. 6, 2017), https://twitter.com/iAlfonso/status/927632332650979328.

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1    deposition, as detailed above, he confirmed that Swarm exhibited its technology at these shows

2    and followed up with communications to 12 potential investors—all in California.

3           In addition, Swarm consistently reminded Juniper that it was engaged in licensing discus-

4    sions with Juniper’s competitors, most of whom are located in this District. And discovery again

5    confirmed this, with Swarm engaging in extensive licensing communications with 13 other Cali-

6    fornia companies. Swarm also entered into contracts with RPX and Samsung Research, Northern

7    California-based organizations, that include forum-selection clauses requiring any related dis-

8    putes to be heard here. Thus, this District appears to be the epicenter of Swarm’s licensing ef-

9    forts. Even pre-Trimble, the law suggested such efforts would’ve been sufficient to confer juris-

10   diction.86 Post-Trimble, they certainly are, given that the Trimble defendant denied ever traveling

11   to this District, or engaging in similar communications with other District residents.87

12          And Swarm hasn’t made “a compelling case” that jurisdiction is unreasonable.88 Under

13   Burger King factor one, this is the only district Swarm has traveled to for business, indicating the

14   burden on the defendant isn’t too great.89 Factors two and three heavily favor exercising jurisdic-

15   tion, as this District has a “definite and well-defined interests in commerce and scientific devel-

16   opment,” and “substantial interest in protecting its residents,” including Juniper and Apstra,

17   “from unwarranted claims of patent infringement.”90 And the remaining factors are neutral.

18          Accordingly, under Trimble and the Supreme Court precedents it applies, Swarm is sub-

19   ject to personal jurisdiction here.

20
21   86
        See, e.g., Jack Henry, supra; Chrisman Mill Farms, LLC v. Blazer, No. 5:17-cv-11, 2017 WL
22   1416793, at *8 (E.D. Ky. Apr. 19, 2017) (“This would be a closer case if Kentucky became the
     de facto center of enforcement” or defendant had traveled there, despite lack of “exclusive agree-
23   ment.”); Xilinx, Inc. v. Papst Licensing GmbH & Co. KG, 848 F.3d 1346, 1354 (Fed. Cir. 2017)
     (noting “in-person visits” are “significant,” and finding this plus letters sufficient); Campbell Pet
24   Co. v. Miale, 542 F.3d 879, 886 (Fed. Cir. 2008) (finding jurisdiction where defendant engaged
     in non-judicial enforcement at convention); RC Entm’t, Inc. v. Rodriguez, No. 98-cv-8585, 1999
25   WL 777903, at *3 (S.D.N.Y. Sept. 29, 1999) (finding jurisdiction under NY longarm statute be-
     cause defendant contacted ASCAP (analogous to RPX here) seeking song publishing royalties).
     87
26      E.g., Fed. Cir. No. 2019-2164, Doc. 58-2 at Appx754, Appx770–71 (¶ 7).
     88
27      See generally Trimble, 2021 WL 1898127, at *8.
     89
        See id. (finding not dispositive where defendant was “small company with limited resources”).
28   90
        Id. at *8.

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1           C.      VENUE IS PROPER.

2           As Swarm acknowledges, venue in a declaratory judgment of non-infringement action is

3    governed by the general venue statute, 28 U.S.C. § 1391.91 It states, in § 1391(b)(1), that a civil

4    action may be brought in “a judicial district in which any defendant resides, if all defendants are

5    residents of the State in which the district is located.” And as Juniper explained in response to

6    Swarm’s previous motion, under 28 U.S.C. § 1391(c)(2) and for “all venue purposes,” Swarm is

7    “deemed to reside … in any judicial district” in which it’s subject to personal jurisdiction.

8           Nonetheless, Swarm repeats nearly verbatim the same arguments it made in its July 2020

9    motion about other subsections of the venue statute—all that’s changed is that “Juniper” is re-

10   placed with “Plaintiffs.” For instance, Swarm continues to assert that “Plaintiffs do not contend

11   that venue is proper under subsection 1. Nor could they because Swarm resides only in Ari-

12   zona.”92 But that wasn’t true in July 2020, and it’s not true now either. Consistent with the origi-

13   nal and amended complaint, venue is proper under § 1391(b)(1). And although Juniper previ-

14   ously cited § 1391(c) and corrected Swarm’s mistaken assertion,93 Swarm still provides no legal

15   basis for ignoring § 1391(c)(2)’s residence provision.

16   V.     CONCLUSION

17          Swarm purposefully engaged in a campaign of licensing demands, infringement allega-

18   tions, and litigation threats against Juniper and Apstra, as well as 13 other companies in this

19   state. And Swarm focused its efforts to sell product and secure funding on this District, exhibit-

20   ing at three trade shows in Santa Clara, communicating with 12 potential Northern California in-

21   vestors, and twice entering into contracts grounding jurisdiction here. Given all this, it’d be fair

22   and reasonable to allow this case to proceed against Swarm. Indeed, under Trimble and the Su-

23   preme Court precedents it applies, Swarm is subject to personal jurisdiction in this District. And

24   venue thus is proper as well. As such, Swarm’s motion should be denied.

25   91
        Dkt. #39 at 12; see also Treehouse Avatar LLC v. Valve Corp., No. 15-cv-427, 2017 WL
26   5564153, at n.3 (D. Del. Nov. 20, 2017) (TC Heartland addressed § 1400 and didn’t alter this.).
     92
        Dkt. #39 at 12.
27   93
        E.g., Dkt. #26 at 14 n.81 (“Swarm, however, does not cite any legal basis for ignoring the resi-
28   dence provision in § 1391(c)(2). And, in any event, Juniper’s complaint expressly alleged that
     ‘Venue is proper in this District based on 28 U.S.C. §§ 1391(b)–(c).’”).

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                                    CERTIFICATE OF SERVICE
1
2           Per Local Rule CV-5(5), I hereby certify that on May 21, 2021, I caused the foregoing

3    document to be filed under seal via the Court’s CM/ECF system and served on all counsel of

4    record by email.

5                                                   /s/ R. William Sigler
                                                    R. William Sigler
6
7
8
9
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     PLAINTIFFS’ OPPOSITION TO
     SWARM’S MOTION TO DISMISS                                              CASE NO. 3:20-cv-3137-JD
